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                    UNITED STATES BANKRUPTCY COURT
                    DISTRICT OF NEW JERSEY
                    Emmanuel J. Argentieri (#3162)
                    PARKER McCAY P.A.
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                    (856) 596-8900
                    Attorneys for Pennsauken Township




                    In Re:                                            Chapter 11
                    SHAPES/ARCH HOLDINGS, LLC et al.
                                                                      Case No: 08-14631 (GMB)

                                                      Debtor          Judge: Gloria M. Burns



                                                  CERTIFICATE OF SERVICE

                           I, NATALIA ARENA, of full age, hereby certify as follows:

                           1.     I am employed in the offices of PARKER McCAY P.A., attorneys for the

                    Secured Creditor, Township of Pennsauken, in the above-entitled matter.

                           2.     On April 16, 2008 I served, by regular mail Pennsauken Township Objection

                    to Debtor’s Joint Disclosure Statement in the above captioned matter to:

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                           Cozen O'Connor
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                          3.     I hereby certify under penalty of perjury that the foregoing is true and correct.




                                                                 /s/ NATALIA ARENA
                                                                NATALIA ARENA

                    Dated: April 16, 2008



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